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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

EQUAL EMPLOYMENT OPPORTUNITY                       )
COMMISSION,                                        )
                                                   )
                                                   )            CIVIL ACTION NO.
                       Plaintiff,                  )            17-6803
                                                   )
                       v.                          )            C O M P L A I N T
                                                   )
LHC OPERATING LLC D/B/A                            )            JURY TRIAL DEMAND
LAKESHORE SPORT AND FITNESS,                       )
                                                   )
                       Defendant.                  )

                                NATURE OF THE ACTION

       This is an action under Title VII of the Civil Rights Act of 1964 and Title I of the Civil

Rights Act of 1991, to correct unlawful employment practices on the bases of sex (female) and

retaliation, and to provide appropriate relief to Shelita Bridges (“Bridges”) and a class of female

employees, including Shayleaf Alsberry (“Alsberry”), who were adversely affected by such

practices. As alleged with greater particularity in paragraphs 11 and 12 below, Defendant LHC

Operating LLC d/b/a Lakeshore Sport and Fitness (“Defendant” or “Lakeshore”) discriminated

against Bridges and a class of female employees, including Alsberry, who worked in Defendant's

restaurants at its Fullerton location, by subjecting them to sexual harassment and by failing to act

reasonably to prevent or remedy the harassment.

       The Commission further alleges that Defendant terminated Bridges's employment in

retaliation for her complaints about the sex harassment and for her protected opposition to the

unlawful employment practices, in violation of Title VII.




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                                  JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Sections 706(f)(1) and (3) of

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.§§ 2000e-5(f)(1) and (3) (“Title

VII”) and pursuant to Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

       2.      The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Northern District of Illinois, Eastern

Division.

                                             PARTIES

       3.      Plaintiff, the Equal Employment Opportunity Commission (the “Commission”), is

the agency of the United States of America charged with the administration, interpretation and

enforcement of Title VII and is expressly authorized to bring this action by Sections 706(f)(1)

and (3) of Title VII, 42 U.S.C. §§ 2000e-5(f)(1) and (3).

       4.      At all relevant times, Defendant has continuously been a LLC doing business in

the State of Illinois and the City of Chicago, and has continuously had at least 15 employees.

       5.      At all relevant times, Defendant has continuously been an employer engaged in an

industry affecting commerce under Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§

2000e(b), (g) and (h).

                               ADMINISTRATIVE PROCEDURES

       6.      More than thirty days prior to the institution of this lawsuit, Shelita Bridges filed a

charge with the Commission alleging violations of Title VII by Defendant Lakeshore.

       7.      On April 5, 2017, the Commission found reasonable cause to determine that

Lakeshore violated Title VII by discriminating against a class of individuals, including Charging




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Party Bridges, because of their sex, female, by subjecting them to sexual harassment. The

Commission also found reasonable cause to believe that Lakeshore violated Title VII by

retaliating against Bridges for engaging in protected activity. The Commission invited Lakeshore

to engage with the Commission in informal conciliation efforts to endeavor to eliminate the

unlawful employment practices and provide appropriate relief.

       8.      The Commission engaged in communications with Lakeshore to provide

Defendant the opportunity to remedy the discriminatory practices described in the Letter of

Determination.

       9.      By letter dated August 7, 2017, the Commission informed Lakeshore that it was

unable to secure a conciliation agreement acceptable to the Commission.

       10.     All conditions precedent to the institution of this lawsuit have been fulfilled.

                                        STATEMENT OF CLAIMS

       11.     Since at least December 2014, Defendant has engaged in unlawful employment

practices at the restaurants in its Fullerton location, in violation of Section 703 of Title VII, 42

U.S.C. § 2000(e)-(2)(a)(1).

       (a)     These practices included, but are not limited to, sexually harassing Bridges and a

class of female employees by subjecting them to a hostile work environment based on their sex

that included unwelcome and offensive sexual comments, propositions, and touching.

       (b)     Lakeshore knew about the harassment and failed to prevent and/or remedy it.

Although Lakeshore was on notice, Lakeshore did not take disciplinary action against the

harasser and the harassment continued even after Lakeshore received complaints. Lakeshore also

failed to train its employees about its policies against sexual harassment or how to complain of

sexual harassment.




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       12.     In November 2015, Lakeshore engaged in unlawful employment practices, in

violation of Section 704 of Title VII, 42 U.S.C. § 2000(e)-3(a), by terminating Bridges's

employment for engaging in protected opposition to unlawful employment practices. Prior to her

termination, Bridges had complained to Lakeshore management and to Human Resources about

the sexual harassment. Lakeshore subsequently terminated Bridges, while retaining other

workers with similar or worse performance who had not engaged in protected activity. Bridges

received no notice that she was being considered for termination other than a threat from the

harasser.

       13.     The effect of the practices complained of in paragraphs 11 and 12 above has been

to deprive Bridges and a class of similarly situated female restaurant employees of equal

employment opportunities and otherwise adversely affect their status as employees because of

their sex (female) and Bridges's status as an employee because of her protected activity.

       14.     The unlawful employment practices complained of in paragraphs 11 and 12 above

were intentional.

       15.     The unlawful employment practices complained of in paragraphs 11 and 12 above

were done with malice or with reckless indifference to the federally protected rights of Bridges

and a class of female employees.

                                     PRAYER FOR RELIEF

       Wherefore, the Commission respectfully requests that this Court:

       A.      Grant a permanent injunction enjoining Defendant, its officers, agents, servants,

employees, attorneys, and all persons in active concert or participation with it, from engaging in

any employment practices which discriminate on the basis of sex.

       B.      Grant a permanent injunction enjoining Defendant, its officers, agents, servants,




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employees, attorneys, and all persons in active concert or participation with it, from retaliating

against employees who oppose practices made unlawful by Title VII.

         C.     Order Defendant to institute and carry out policies, practices, and programs which

provide equal employment opportunities for its employees regardless of sex and those who

engage in protected opposition under Title VII, and which eradicate the effects of its past and

present unlawful employment practices.

         D.     Order Defendant to make whole Shelita Bridges, by providing appropriate

backpay with prejudgment interest, in amounts to be determined at trial, and other affirmative

relief necessary to eradicate the effects of its unlawful employment practices, including but not

limited to reinstatement or front pay in lieu of reinstatement.

         E.     Order Defendant to make whole Bridges and a class of female employees by

providing compensation for past and future pecuniary losses resulting from the unlawful

employment practices described in paragraphs 11 and 12 above, in amounts to be determined at

trial.

         F.     Order Defendant to make whole Bridges and a class of female employees by

providing compensation for past and future nonpecuniary losses resulting from the unlawful

practices complained of in paragraphs 11 and 12 above, including, but not limited to, emotional

pain, suffering, humiliation, and inconvenience, in amounts to be determined at trial.

         G.     Order Defendant to pay Bridges and a class of female employees punitive

damages for its malicious and reckless conduct, as described in paragraphs 11 and 12 above, in

amounts to be determined at trial.

         H.     Grant such further relief as the Court deems necessary and proper in the public

interest.




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       I.      Award the Commission its costs of this action.

                                    JURY TRIAL DEMAND

The Commission requests a jury trial on all questions of fact raised by its complaint.



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